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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re                                                                 Chapter 11

                                                                          Bankruptcy Case No. 20-10343 (LSS)
    Boy Scouts of America and Delaware BSA, LLC,1
                        Debtors.
                                                                          (Jointly Administered)

    National Union Fire Insurance Co. of Pittsburgh,
    PA, et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01237-RGA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Travelers Casualty and Surety Company, Inc. et al.,
                          Appellants.

    v.                                                                    Case No. 22-cv-01238-RGA

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.

    Old Republic Insurance Company,

                                 Appellant.
                                                                          Case No. 22-cv-01239-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                                 Appellees.




1
         The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
         number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
         address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 General Star Indemnity Company,

                     Appellant.
                                                Case No. 22-cv-01240-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Indian Harbor Insurance Company,

                     Appellant.                 Case No. 22-cv-01241-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Munich Reinsurance America, Inc.,

                     Appellant.
                                                Case No. 22-cv-01242-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Arch Insurance Company,

                     Appellant.
                                                Case No. 22-cv-01243-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




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 Great American Assurance Company et al.,

                       Appellants.                   Case No. 22-cv-01244-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 The Continental Insurance Co., et al.,

                       Appellees.
                                                     Case No. 22-cv-01245-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Gemini Insurance Company,

                       Appellant.
                                                     Case No. 22-cv-01246-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Traders and Pacific Insurance Company et al.,

                       Appellants.
                                                     Case No. 22-cv-01247-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.




                                                 3
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 D & V Claimants,

                      Appellant.
                                                Case No. 22-cv-01249-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Argonaut Insurance Company et al.,

                      Appellants.
                                                Case No. 22-cv-01250-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Arrowood Indemnity Company,

                      Appellant.
                                                Case No. 22-cv-01251-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Liberty Mutual Insurance Company et al.,

                      Appellants.
                                                Case No. 22-cv-01252-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.




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    The Lujan Claimants,

                                Appellant.
                                                                    Case No. 22-cv-01258-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                                Appellees.


    Allianz Global Risks US Insurance Company et
    al.,
                         Appellants.
                                                                    Case No. 22-cv-01263-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                                Appellees.

       ORDER GRANTING MOTION ON STIPULATION REGARDING APPEALS
    FROM ORDER CONFIRMING PLAN OF REORGANIZATION OF BOY SCOUTS OF
                   AMERICA AND DELAWARE BSA, LLC

             Upon the joint motion (the “Motion”) submitted by Boy Scouts of America and Delaware

BSA, LLC (collectively, the “Debtors” or “Appellees”), the Appellants, and the Additional

Appellees to the United States District Court for the District of Delaware (the “Court”); and the

Court having reviewed the Motion; and the Court having considered the Stipulation Regarding

Appeals from Order Confirming Plan of Reorganization of Boy Scouts of America and Delaware

BSA, LLC (the “Stipulation”),2 a copy of which is attached hereto Exhibit 1 by and among (i) the

Debtors, (ii) the Appellants, and (iii) the Additional Appellees; and the Court having determined

that the bases set forth in the Motion establish just cause for the relief granted herein; and it

appearing that the relief requested in the Motion is in the best interests of the Debtors and all parties


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         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Stipulation.



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in interest; and upon all the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.      The Motion is GRANTED.

        2.      The Stipulation is APPROVED, and the terms and conditions of the Stipulation are

incorporated in this Order as if fully set forth herein.

        3.      The Parties are authorized to take all actions necessary or desirable to effectuate the

relief granted pursuant to, and in accordance with, this Order and the Stipulation.

        4.      These matters are withdrawn from the mandatory referral for mediation and shall

immediately proceed through the appellate process of this Court, as set forth in the Stipulation.

        5.      All of the appeals filed by the Appellants (as that term is defined in the Stipulation)

shall be consolidated under case number 22-cv-01237, which shall be the Master Case Number.

All further filings with this Court will be docketed under the Master Case Number.

        6.      For the avoidance of doubt, the appeal styled as D.W. v. Boy Scouts of America and

Delaware BSA, LLC, Case No. 22-01121, is not consolidated with the other appeals filed by the

Appellants and is not subject to the Stipulation.




 Dated: 10/17/2022                       /s/ Richard G. Andrews
                                        HONORABLE RICHARD G. ANDREWS
                                        UNITED STATES DISTRICT JUDGE




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                                  Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


    In re                                                               Chapter 11

                                                                        Bankruptcy Case No. 20-10343 (L
    Boy Scouts of America and Delaware BSA, LLC,1
                        Debtors.
                                                                        (Jointly Administered)

    National Union Fire Insurance Co. of Pittsburgh,
    PA, et al.,
                          Appellants.

    v.                                                                  Case No. 22-cv-01237-RGA

    Boy Scouts of America and Delaware BSA, LLC,

                              Appellees.

    Travelers Casualty and Surety Company, Inc. et al.,
                          Appellants.

    v.                                                                  Case No. 22-cv-01238-RGA

    Boy Scouts of America and Delaware BSA, LLC,

                              Appellees.

    Old Republic Insurance Company,

                              Appellant.
                                                                        Case No. 22-cv-01239-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                              Appellees.




1
     The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
     number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
     address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 General Star Indemnity Company,

                     Appellant.
                                                Case No. 22-cv-01240-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Indian Harbor Insurance Company,

                     Appellant.                 Case No. 22-cv-01241-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Munich Reinsurance America, Inc.,

                     Appellant.
                                                Case No. 22-cv-01242-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Arch Insurance Company,

                     Appellant.
                                                Case No. 22-cv-01243-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




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  Great American Assurance Company et al.,

                        Appellants.               Case No. 22-cv-01244-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.

  The Continental Insurance Co., et al.,

                        Appellees.
                                                  Case No. 22-cv-01245-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.

  Gemini Insurance Company,

                        Appellant.
                                                  Case No. 22-cv-01246-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.

  Traders and Pacific Insurance Company et al.,

                        Appellants.
                                                  Case No. 22-cv-01247-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.




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  D & V Claimants,

                       Appellant.
                                                 Case No. 22-cv-01249-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

  Argonaut Insurance Company et al.,

                       Appellants.
                                                 Case No. 22-cv-01250-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

  Arrowood Indemnity Company,

                       Appellant.
                                                 Case No. 22-cv-01251-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

  Liberty Mutual Insurance Company et al.,

                       Appellants.
                                                 Case No. 22-cv-01252-RGA
  v.

  Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.




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    The Lujan Claimants,

                             Appellant.
                                                                Case No. 22-cv-01258-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                             Appellees.


    Allianz Global Risks US Insurance Company et
    al.,
                         Appellants.
                                                                Case No. 22-cv-01263-RGA
    v.

    Boy Scouts of America and Delaware BSA, LLC,

                             Appellees.

     STIPULATION REGARDING APPEALS FROM ORDER CONFIRMING PLAN OF
    REORGANIZATION OF BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

         Boy Scouts of America and Delaware BSA, LLC (collectively, the “Debtors”) and one or

more of the Certain Insurers,2 the claimants represented by Dumas & Vaughn, LLC, the claimants

represented by Lujan & Wolff LLP, and other parties in interest that may seek review of the




2
     The Certain Insurers are Allianz Global Risks US Insurance Company, National Surety Corporation, Interstate
     Fire & Casualty Company, Argonaut Insurance Company, Colony Insurance Company, Liberty Mutual Insurance
     Company, General Star Indemnity Company, Great American Assurance Company f/k/a Agricultural Insurance
     Company, Great American E&S Insurance Company f/k/a Agricultural Excess and Surplus Insurance Company,
     Great American E&S Insurance Company, Arch Insurance Company, Continental Insurance Company, Columbia
     Casualty Company, Indian Harbor Insurance Company on behalf of itself and as successor in interest to Catlin
     Specialty Insurance Company, Travelers Casualty and Surety Company, Inc. (f/k/a Aetna Casualty & Surety
     Company), St. Paul Surplus Lines Insurance Company, Gulf Insurance Company, Arrowood Indemnity
     Company, Gemini Insurance Company, Munich Reinsurance America, Inc., formerly known as American Re-
     Insurance Company, Traders and Pacific Insurance Company, Endurance American Specialty Insurance
     Company, Endurance American Insurance Company, Markel Service, Incorporated, Claim Service Manager for
     Alterra Excess & Surplus and Evanston Insurance Company, Old Republic Insurance Company, National Union
     Fire Insurance Company of Pittsburgh, PA., Lexington Insurance Company, Landmark Insurance Company, and
     The Insurance Company of the State of Pennsylvania.




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Confirmation Order by the District Court, (collectively, the “Appellants,”3 together with the

Debtors and the Additional Appellees (as defined below), the “Parties”) hereby stipulate and

agrees as follows (the “Stipulation”):

        A.       WHEREAS, on July 29, 2022, the United States Bankruptcy Court for the District

of Delaware (the “Bankruptcy Court”) entered and docketed its Opinion [Bankruptcy D.I. 10136]

(the “Opinion”);

        B.       WHEREAS, on September 8, 2022, the Bankruptcy Court docketed and entered

its Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third

Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for

Boy Scouts of America and Delaware BSA, LLC [Bankruptcy D.I. 10316] (the “Confirmation

Order”), confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with

Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC [Bankruptcy D.I.

10296] (the “Plan”);4

        C.       WHEREAS, the Appellants intend to seek review by the United States District

Court for District of Delaware (the “District Court”) of the Confirmation Order through appeals

from the Confirmation Order, the Opinion, and all other subsumed orders pursuant to 28 U.S.C. §

158 and Bankruptcy Rules 8001, et seq. (collectively, the “Appeals”); and all appeals from the

Confirmation Order, including the Appeals, are expected to be consolidated (the “Consolidated

Appeals”);




3
    The undersigned Appellants have reached agreement with the Debtors and do not purport to speak for or have
    authority to act on behalf of other potential parties in interest.
4
    Capitalized terms that are used but not otherwise defined herein shall have the meaning ascribed to such terms in
    the Plan.



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       D.      WHEREAS, an order of the District Court on appeal has been defined to constitute

an “Affirmation Order” under the terms set forth in the Confirmation Order and the Plan, and

therefore the Parties have agreed to proceed pursuant to the timelines set forth herein;

       E.      WHEREAS, the Parties seek to avoid the time and expense of motions for stays

and contentions of equitable mootness, and therefore the parties have agreed to the provisions in

Paragraph 2 below;

       F.      WHEREAS, the Parties desire to avoid other unnecessary motion practice and to

obtain the benefits of an orderly and efficient process for the District Court’s review;

       G.      WHEREAS, the Tort Claimants’ Committee, the Coalition, the Future Claimants’

Representative, Pfau/Zalkin, Hartford, Century and Chubb Companies, Zurich Insurers and Zurich

Affiliated Insurers, Clarendon, the Creditors’ Committee, the Ad Hoc Committee, JPM, and the

United Methodist ad hoc committee (collectively, the “Additional Appellees”) have played active

roles in the Chapter 11 Cases, including filing pleadings and statements in support of the Plan and

Confirmation Order and participating at the Confirmation Hearing and may wish to file briefs in

support of the Plan in the Consolidated Appeals;

       H.      WHEREAS, on June 9, 2020, the Bankruptcy Court appointed mediators in the

Debtors’ Chapter 11 Cases for the purpose of mediating various issues, including issues

concerning the confirmation of a chapter 11 plan. Since that time, the Appellants participated

extensively in the Plan confirmation process and related discovery, and the Debtors engaged in

discussions with the Appellants in connection with the confirmation of the Plan, including through

formal mediation discussions, but the objections could not be resolved;




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       I.      WHEREAS, the Parties agree that a further formal mediation, as mandated by the

District Court’s July 23, 2004 Standing Order and September 11, 2012 Standing Order referring

appeals from the Bankruptcy Court to mediation (the “Standing Order”), will not succeed; and

       J.      WHEREAS, the Parties have reached an agreement on the procedure for the

District Court’s consideration of the Consolidated Appeals that provides for an orderly, efficient,

and timely review process as set forth below or to the extent modified by the District Court.

       NOW, THEREFORE, it is hereby stipulated and agreed to by and between the Parties:

       1.      The Parties shall seek to have all Consolidated Appeals and any other appeals from

the Confirmation Order procedurally consolidated before the District Court pursuant to rule

8003(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) under a single

docket number, and all filings shall be made under case number: Case No. 22-cv-01237.

       2.      The Debtors shall not waive the condition precedent to the Effective Date of the

Plan set forth in Article IX.B.1(a) of the Plan prior to entry of the District Court’s decision and

order on the Consolidated Appeals without providing 28 days’ prior notice to the Appellants

through email to their undersigned counsel. For the avoidance of doubt, entry of an Affirmation

Order satisfies the condition precedent to the Effective Date of the Plan set forth in Article

IX.B.1(a) of the Plan such that waiver is no longer required.

       3.      None of the Parties shall (a) file any of the post-trial motions listed in Bankruptcy

Rule 8002(b) that would extend the time to file a notice of appeal, or (b) take any other action to

delay the time to file a notice of appeal, and no such motion shall be required.

       4.      Within fourteen (14) days after entry of the Confirmation Order, the Appellants

shall file notices of appeal to the District Court. The Parties shall cooperate to facilitate the




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expeditious transmittal by the bankruptcy clerk of the notices of appeal to the District Court, and

to facilitate the expeditious opening of a case file for the appeals in the District Court.

       5.         Each Appellant shall file a Designation of Record (the “Appellants’ Designation of

Record”) and a Statement of Issues on the issues to be presented in their appeal, within ten (10)

days after the last date on which an Appellant filed its notice of appeal. The Certain Insurers will

coordinate to file a consolidated designation of record to the extent feasible. The Debtors and

Additional Appellees shall file Counter-Designations of Record (each, a “Counter-Designation of

Record”) within three (3) days of the filing of the Appellants’ Designation of Record. The Debtors

and Additional Appellees will coordinate to file a consolidated Counter-Designation of Record to

the extent feasible. The Parties shall cooperate to facilitate the expeditious transmittal by the

bankruptcy clerk to the District Court of the record or notice that the record is available

electronically.

       6.         The court reporters’ final transcripts of the confirmation hearing proceedings

beginning on March 14, 2022, and ending on April 14, 2022 (collectively, the “Confirmation

Hearing”) shall be designated in their entirety and transmitted to the District Court as the official

court reporter’s transcript of the Confirmation Hearing. All documents entered as evidence in the

record of the Confirmation Hearing shall also be designated in their entirety and transmitted to the

District Court. Each party filing a brief as provided in paragraph 9 below shall, contemporaneously

with the filing of such brief, file an appendix containing only the portions of the record on which

the Party actually cites in its brief. To the extent that any exhibits or other documents were filed

under seal in the Bankruptcy Court, the parties shall file or lodge these exhibits and documents

under seal in the District Court pursuant to applicable rules. The Parties shall cooperate in the




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submission of a stipulated order in the District Court to permit the filing of such documents under

seal without the need for individual sealing motions.

       7.      The Parties shall file a joint motion in the District Court seeking an order approving

this Stipulation (the “Order”) and relief from the Standing Order within five (5) days after the

District Court has opened a case number as to any portion of any Appeals filed by Appellants who

have signed this Stipulation.

       8.      The Parties agree that the Additional Appellees are permitted, but are not required,

to intervene in the Consolidated Appeals without having to file a motion pursuant to Bankruptcy

Rule 8013. To the extent that the applicable rules require intervention by any of the Additional

Appellees, they hereby are allowed as intervenors. For the avoidance of doubt, all Parties’ rights

to challenge standing are preserved and are not affected by this Stipulation.

       9.      Briefing, Subject to District Court Approval:

               (a)     The Parties and Additional Appellees shall endeavor to avoid duplicative

briefing on appellate issues and to act in good faith to streamline briefing to the extent feasible.

               (b)     Each Appellant, other than the Certain Insurers, shall file its principal brief

or briefs in respect of its Appeal, each of which, may be up to 19,500 words in length, within thirty

(30) days from the filing of the Counter-Designation(s) of Record. The Certain Insurers may file

(i) one principal brief of up to 19,500 words; and (ii) supplemental briefs not to exceed 13,000

words in total, each within thirty (30) days from the filing of the Counter-Designation(s) of Record.

               (c)     The Debtors shall file a single, consolidated brief in response to all of the

Appellants’ principal briefs, and the total number of words in such consolidated response may be

up to 19,500 words in response to the Certain Insurers’ principal brief and additional words in

length equal to the limits for each other principal brief or supplemental brief filed (e.g., to the




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extent that there are two other principal briefs filed by Appellants other than the Certain Insurers,

the Debtors’ consolidated brief in response may be up to 19,500 words plus an additional 39,000

words), within thirty (30) days following the filing of the Appellants’ principal briefs.

               (d)     Any response brief filed by any of the Additional Appellees may be up to

13,000 words in length per brief submitted by such Additional Appellee, and shall be filed within

thirty (30) days following the filing of the Appellants’ principal briefs.

               (e)     Each Appellant that has filed a principal or supplemental brief may file a

brief in reply to all response briefs within fourteen (14) days following the filing of such response

briefs. The Certain Insurers may file (i) one principal reply brief, up to 10,000 words in length,

plus an additional 10,000 words for each response brief filed by Additional Appellees; and (ii)

supplemental reply briefs, not to exceed 6,500 words in total. Each Appellant, other than the

Certain Insurers, may file a reply brief, up to 10,000 words in length, plus an additional 10,000

words for each response brief filed by Additional Appellees.

               (f)     Except as to length, all briefs filed in the Appeals shall comply with

Bankruptcy Rules 8014 and 8015.

       10.     The Parties agree to file, on or before the conclusion of briefing, statements

pursuant to Bankruptcy Rule 8019(a) explaining why oral argument should be permitted and to

cooperate to facilitate the scheduling of an expedited date for oral argument.

       11.     If any due date or deadline contemplated in this Stipulation falls on a weekend or

legal holiday, the due date or deadline shall automatically be extended to the next business day,

consistent with Bankruptcy Rule 9006(a)(1)(C).




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       12.     Except as modified herein, the procedures applicable to appeals set out in Rules

8001, et seq., of the Bankruptcy Rules, and the local rules of the District Court and Bankruptcy

Court, shall apply.




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Dated: September 16, 2022

 For the Debtors:                                 For the Certain Insurers:

 MORRIS, NICHOLS, ARSHT &                     FINEMAN KREKSTEIN & HARRIS PC
 TUNNELL LLP

 /s/ Derek C. Abbott___________       _       /s/ Deirdre M. Richards     _
 Derek C. Abbott (DE Bar No. 3376)            Deirdre M. Richards (DE Bar No. 4191)
 Andrew R. Remming (DE Bar No. 5120)          1300 N. King Street
 Paige N. Topper (DE Bar No. 6470)            Wilmington, DE 19801
 Tori L. Remington (DE Bar No. 6901)
 1201 North Market Street, 16th Floor         Telephone: (302) 538-8331
 P.O. Box 1347                                Facsimile: (302) 394-9228
 Wilmington, DE 19899-1347                    Email: drichards@finemanlawfirm.com
 Telephone: (302) 658-9200
 Email: dabbott@morrisnichols.com             -and-
         aremming@morrisnichols.com
         ptopper@morrisnichols.com            FORAN GLENNON PALANDECH PONZI
         tremington@morrisnichols.com
                                              & RUDLOFF P.C.
 -and-                                        Susan N.K. Gummow (admitted pro hac
                                              vice)
 WHITE & CASE LLP                             222 N. LaSalle St., Suite 1400
 Jessica C. Lauria (admitted pro hac vice)    Chicago, IL 60601
 Glenn M. Kurtz (admitted pro hac vice)       Telephone: (312) 863-5000
 1221 Avenue of the Americas
 New York, NY 10020                           Facsimile: (312) 863-5009
 Telephone: (212) 819-8200                    Email: sgummow@fgppr.com
 Email: Jessica.lauria@whitecase.com
        Gkurtz@whitecase.com                  -and-

                                              GIBSON, DUNN & CRUTCHER LLP
 WHITE & CASE LLP                             Michael A. Rosenthal
 Michael C. Andolina
 (pro hac vice forthcoming)                   (admitted pro hac vice)
 Matthew E. Linder                            Mitchell A. Karlan
 (pro hac vice forthcoming)                   (pro hac vice forthcoming)
 Laura E. Baccash                             James Hallowell
 (pro hac vice forthcoming)                   (admitted pro hac vice)
 Blair M. Warner                              Keith R. Martorana
 (pro hac vice forthcoming)                   (pro hac vice forthcoming)
 111 South Wacker Drive
 Chicago, IL 60606                            200 Park Avenue
 Telephone: (312) 881-5400                    New York, NY 10166
 Emails: mandolina@whitecase.com              Telephone: (212) 351-4000
         mlinder@whitecase.com                Facsimile: (212) 351-4035
         laura.baccash@whitecase.com          Email: mrosenthal@gibsondunn.com
         blair.warner@whtiecase.com           mkarlan@gibsondunn.com
                                              jhallowell@gibsondunn.com
                                              kmartorana@gibsondunn.com




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 TROUTMAN PEPPER HAMILTON                   GIBSON, DUNN & CRUTCHER LLP
 SANDERS LLP                                Richard Doren (pro hac vice forthcoming)
                                            Blaine H. Evanson (pro hac vice forthcoming)
 /s/ David M. Fournier     _
 David M. Fournier (DE Bar No. 2812)        333 South Grand Avenue
 Marcy J. McLaughlin Smith (DE No. 6184)    Los Angeles, CA 90071
 Hercules Plaza                             Telephone: (213) 229-7000
 1313 Market Street                         Facsimile: (213) 229.7520
 Suite 5100                                 Email: rdoren@gibsondunn.com
 P.O. Box 1709                              bevanson@gibsondunn.com
 Wilmington, DE 19899-1709
 Telephone: 404.885.3000                    Attorneys for National Union Fire Insurance
                                            Company of Pittsburgh, PA., Lexington
 -and-                                      Insurance Company, Landmark Insurance
                                            Company, and The Insurance Company of the
 PARKER, HUDSON, RAINER & DOBBS             State of Pennsylvania
 Harris B. Winsberg (pro hac vice
 forthcoming)                               BODELL BOVE, LLC
 303 Peachtree Street NE
 Suite 3600                                 /s/ Bruce W. McCullough         _
 Atlanta, GA 30308                          Bruce W. McCullough (DE Bar No. 3112)
 Telephone: 404.420.4313
 Facsimile: 404.522.8409                    1225 N. King Street, Suite 1000
                                            P.O. Box 397
 -and-                                      Wilmington, DE 19899-0397
                                            Telephone: (302) 655-6749
 McDERMOTT WILL & EMERY LLP                 Facsimile: (302) 655-6827
 Margaret H. Warner                         Email: bmccullough@bodellbove.com
 (pro hac vice forthcoming)
 Ryan S. Smethurst
 (pro hac vice forthcoming)                 - and -
 Alex M. Spisak
 (pro hac vice forthcoming)                 CLYDE & CO US LLP
 The McDermott Building                     Bruce D. Celebrezze (pro hac vice
 500 North Capitol Street, NW               forthcoming)
 Washington, DC 20001-1531                  150 California Street, 15th Floor
 Telephone: 202.756.8228
 Facsimile: 202.756.8087                    San Francisco, CA 94111
                                            Telephone: (415) 365-9800
 Attorneys for Allianz Global Risks US      Facsimile: (415) 365-9801
 Insurance Company                          Email: bruce.celebrezze@clydeco.us

                                            Konrad R. Krebs (pro hac vice forthcoming)
                                            340 Mt. Kemble Avenue | Suite 300
                                            Morristown, NJ 07960
                                            Telephone: (973) 210-6700
                                            Facsimile: (973) 210-6701
                                            Email: konrad.krebs@clydeco.us

                                            – and –




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 TROUTMAN PEPPER HAMILTON                      DAVID CHRISTIAN ATTORNEYS LLC
 SANDERS LLP                                   David Christian (pro hac vice forthcoming)
                                               105 W. Madison St., Suite 1400
 /s/ David Fournier_
 David M. Fournier (DE Bar No. 2812)           Chicago, IL 60602
 Marcy J. McLaughlin Smith (DE No. 6184)       Telephone: 312-282-5282
 Hercules Plaza, Suite 5100                    Email: dchristian@dca.law
 1313 Market Street
 P.O. Box 1709                                 Attorneys for Great American Assurance
 Wilmington, DE 19899-1709                     Company, f/k/a Agricultural Insurance
 Telephone: 302.777.6500                       Company; Great American E&S Insurance
 Facsimile: 302.421.8390                       Company, f/k/a Agricultural Excess and
                                               Surplus Insurance Company; and Great
 -and-                                         American E&S Insurance Company

 PARKER, HUDSON, RAINER &                      POST & SCHELL, P.C.
 DOBBS
 Harris B. Winsberg (pro hac vice              /s/ Paul Logan
 forthcoming)                                  Paul Logan (DE Bar No. 3339)
 303 Peachtree Street NE                       300 Delaware Avenue
 Suite 3600                                    Suite 1380
 Atlanta, GA 30308                             Wilmington, DE 19801
 Telephone: 404.420.4313                       Phone: (302) 251-8856
 Facsimile: 404.522.8409                       Fax: (302) 251-8857
                                               Email: plogan@postschell.com
 -and-
                                               IFRAH PLLC
 BRADLEY RILEY JACOBS PC                       George R. Calhoun (pro hac vice
 Todd C. Jacobs (pro hac vice forthcoming)     forthcoming)
 John E. Bucheit (pro hac vice forthcoming)    1717 Pennsylvania Ave., N.W.
 Paul J. Esker (pro hac vice forthcoming)      Suite 650
 500 West Madison Street                       Washington, DC 20006
 Suite 1000                                    Phone: (202) 840-8758
 Chicago, IL 60661                             Email: george@ifrahlaw.com
 Telephone: 312.281.0295
                                               Attorneys for Argonaut Insurance Company
 Attorneys for National Surety Corporation     and Colony Insurance Company
 and Interstate Fire & Casualty Company




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Case 1:22-cv-01237-RGA Document 22 Filed 10/17/22 Page 23 of 31 PageID #: 1255



 SMITH, KATZENSTEIN & JENKINS LLP            SEITZ, VAN OGTROP & GREEN, P.A

 /s/ Kathleen M. Miller_                     /s/ R. Karl Hill     _
 Kathleen M. Miller (DE Bar No. 2898)        R. Karl Hill (DE Bar No. 2747)
 1000 West Street, Suite 501                 222 Delaware Avenue
 P.O. Box 410                                Suite 1500
 Wilmington, DE 19899                        Wilmington, DE 19801
 Telephone: (302) 652-8400                   Telephone: (302) 888-0600
 Email: kmiller@skjlaw.com                   Email: khill@svglaw.com

 -and-                                       -and-

 WILEY REIN LLP                              CHOATE, HALL & STEWART LLP
 Mary E. Borja (admitted pro hac vice)       Douglas R. Gooding (pro hac vice
 Gary P. Seligman (admitted pro hac vice)    forthcoming)
 Ashley L. Criss (admitted pro hac vice)     Jonathan D. Marshall (pro hac vice
 2050 M Street NW                            forthcoming)
 Washington, DC 20036                        Two International Place
 Phone: (202) 719-7000                       Boston, MA 02110
 Email: mborja@wiley.law,                    Telephone: (617) 248-5000
 gseligman@wiley.law,                        dgooding@choate.com
 acriss@wiley.law                            jmarshall@choate.com

 Attorneys for General Star Indemnity        -and-
 Company
                                             MINTZ, LEVIN, COHN, FERRIS,
 GOLDSTEIN & MCCLINTOCK LLLP                 GLOVSKY AND POPEO PC
                                             Kim V. Marrkand (pro hac vice
 /s/ Maria Aprile Sawczuk_                   forthcoming)
 Maria Aprile Sawczuk (DE Bar No. 3320)      Laura Bange Stephens (pro hac vice
 501 Silverside Road, Suite 65               forthcoming)
 Wilmington, DE 19809                        One Financial Center
 302-444-6710                                Boston, MA 02111
 marias@goldmclaw.com                        Telephone: (617) 542-6000
                                             kvmarrkand@mintz.com
 -and-                                       lbstephens@mintz.com

 LOEB & LOEB LLP                             Counsel to Liberty Mutual Insurance
 Laura McNally                               Company
 Emily Stone
 321 N. Clark Street, Suite 2300
 Chicago, IL 60654
 312-464-3155
 lmcnally@loeb.com
 estone@loeb.com

 Attorneys for The Continental Insurance
 Company and Columbia Casualty
 Company




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 REGER RIZZO & DARNALL LLP                     SMITH, KATZENSTEIN & JENKINS LLP

 /s/ Louis J. Rizzo, Jr.      _                /s/ Kathleen M. Miller_
 Louis J. Rizzo, Jr., Esquire (DE Bar No.      Kathleen M. Miller (DE Bar No. 2898)
 3374)                                         1000 North West Street
 1521 Concord Pike, Suite 305                  Suite 1501
 Brandywine Plaza West                         P.O. Box 410
 Wilmington, DE 19803                          Wilmington, DE 19899 (courier 19801)
 (302) 477-7100                                302-652-8400
 Email: lrizzo@regerlaw.com
                                               -and-
 Attorney for Travelers Casualty and Surety
 Company, Inc. (f/k/a Aetna Casualty &         HANGLEY ARONCHICK SEGAL PUDLIN
 Surety Company), St. Paul Surplus Lines       & SCHILLER
 Insurance Company and Gulf Insurance          Ronald P. Schiller (admitted pro hac vice)
 Company                                       Matthew A. Hamermesh (admitted pro hac
                                               vice)
 DILWORTH PAXSON LLP                           One Logan Square, 27th Floor
                                               Philadelphia, PA 19103
 /s/ Thaddeus J. Weaver     _                  (215) 568 6200
                                               (215) 568 0300 facsimile
 Thaddeus J. Weaver (DE Bar. No. 2790)         rschiller@hangley.com
 704 King Street, Suite 500                    mhamermesh@hangley.com
 P.O. Box 1031
 Wilmington, DE 19899-1031                     Attorneys for Arch Insurance Company
 (302) 571-8867 (telephone)
 (302) 655-1480 (facsimile)
 tweaver@dilworthlaw.com

 -and-

 DILWORTH PAXSON LLP
 William E. McGrath, Jr. (pro hac vice
 forthcoming)
 2 Research Way, Suite 103
 Princeton, NJ 08540
 (609) 924-6000 (telephone)
 (215) 893-8537 (facsimile)
 wmcgrath@dilworthlaw.com

 Attorneys for Munich Reinsurance America,
 Inc., formerly known as American Re-
 Insurance Company




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 WERB & SULLIVAN                             SMITH, KATZENSTEIN & JENKINS LLP

 /s/ Brian A. Sullivan_                      /s/ Kathleen M. Miller_
 Brian A. Sullivan                           Kathleen M. Miller (DE Bar No. 2898)
 LEGAL ARTS BUILDING                         1000 West Street, Suite 1501
 1225 N. King Street                         P.O. Box 410
 Suite 600                                   Wilmington, DE 19899 [Courier 19801]
 Wilmington, Delaware 19801                  Telephone: (302) 652-8400
 Telephone: (302) 652-1100                   Facsimile: (302) 652-8405
 Facsimile: (302) 652-1111                   Email: kmiller@skjlaw.com
 Email: bsullivan@werbsullivan.com
                                             -and-
 -and-
                                             MOUND COTTON WOLLAN &
 GIEGER LABORDE & LAPEROUSE                  GREENGRASS LLP
 LLC                                         Lloyd A. Gura (admitted pro hac vice)
 John E.W. Baay II, Esq. (pro hac vice       Pamela J. Minetto (admitted pro hac vice)
 forthcoming)                                One New York Plaza 44th Floor
 701 Poydras Street, Suite 4800              New York, NY 10004
 New Orleans, LA 70139-                      Tel: (212) 804-4282
 Telephone: (504) 561-0400                   Email: lgura@moundcotton.com
 Facsimile: (504) 561-0100                   pminetto@moundcotton.com
 Email: jbaay@glllaw.com
                                             Attorneys for Indian Harbor Insurance
 -and-                                       Company, on behalf of itself and as
                                             successor in interest to Catlin Specialty
 KIERNAN TREBACH LLP                         Insurance Company
 William H. White Jr., Esq. (pro hac vice
 forthcoming)                                JOYCE, LLC
 1233 20th Street, NW, 8th Floor
 Washington, DC 20036                        /s/ Michael J. Joyce       _
 Direct: 202-712-7042                        Michael J. Joyce, Esquire (DE Bar No. 4563)
 Fax: 202-712-7100                           1225 King Street, Suite 800
 Email: wwhite@kiernantrebach.com            Wilmington, DE 19801
                                             (302)-388-1944
 Attorneys for Gemini Insurance Company      mjoyce@mjlawoffices.com

                                             -and-

 MORRIS JAMES LLP                            COUGHLIN MIDLIGE & GARLAND,
                                             LLP
 /s/ Sarah M. Ennis      _                   Kevin Coughlin, Esquire
 Sarah M. Ennis (DE Bar No. 5745)            (pro hac vice forthcoming)
 Stephen M. Miller (DE Bar No. 2610)         Lorraine Armenti, Esquire
 Carl N. Kunz, III (DE Bar No. 3201)         (pro hac vice forthcoming)
 500 Delaware Avenue, Suite 1500             Michael Hrinewski, Esquire
 Wilmington, DE 19801                        (pro hac vice forthcoming)
 Telephone: (302) 888-6800                   350 Mount Kemble Ave.
 Facsimile: (302) 571-1750                   PO Box 1917
 Email: smiller@morrisjames.com              Morristown, NJ 07962
 ckunz@morrisjames.com                       973-267-0058 (Telephone)
                                             973-267-6442 (Facsimile)
 - and –                                     larmenti@cmg.law
                                             mhrinewski@cmg.law


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Case 1:22-cv-01237-RGA Document 22 Filed 10/17/22 Page 26 of 31 PageID #: 1258



 FOX SWIBEL LEVIN & CARROLL LLP
 Margaret M. Anderson, Esq. (admitted pro        - and -
 hac vice)
 Ryan T. Schultz (admitted pro hac vice)         CARRUTHERS & ROTH, P.A.
 Adam A. Hachikian (admitted pro hac vice)       Britton C. Lewis, Esquire (pro hac vice
 Kenneth M. Thomas (admitted pro hac vice)       forthcoming)
 200 W. Madison Street, Suite 3000               235 N. Edgeworth St.
 Chicago, IL 60606                               P.O. Box 540
 Telephone: (312) 224-1200                       Greensboro, NC 27401
 Facsimile: (312) 224-1201                       (336) 478-1146 (Telephone)
 Email: panderson@foxswibel.com                  (336) 478-1145 (Facsimile)
 rschultz@foxswibel.com                          bcl@crlaw.com
 ahachikian@foxswibel.com
 kthomas@foxswibel.com                           Counsel to Arrowood Indemnity Company

 Counsel for Old Republic Insurance
 Company                                         COZEN O’CONNOR

                                                 /s/ Marla S. Benedek_
 For the Lujan Claimants:                        Marla S. Benedek (DE Bar No. 6638)
                                                 1201 N. Market Street, Suite 1001
 LOIZIDES, P.A.                                  Wilmington, DE 19801
                                                 Telephone: (302) 295-2024
 /s/ Christopher D. Loizides_ _________          Facsimile: (302) 250-4498
 Christopher D. Loizides (DE Bar No. 3968)       Email: mbenedek@cozen.com
 1225 North King Street, Suite 800
 Wilmington DE 19801                             Counsel to Traders and Pacific Insurance
 Phone: (302) 654-0248                           Company, Endurance American Specialty
 Email: Loizides@loizides.com                    Insurance Company, and Endurance
                                                 American Insurance Company
 -and-

 LUJAN & WOLFF LLP
 Delia Lujan Wolff (pro hac vice forthcoming)
 Suite 300, DNA Bldg.
 238 Archbishop Flores St.
 Hagatna, Guam 96910
 Phone: (671) 477-8064/5
 Facsimile: (671) 477-5297
 Email: dslwolff@lawguam.com




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 For the Tort Claimants’ Committee:           For the D&V Claimants:
 PACHULSKI STANG ZIEHL                        GELLERT SCALI BUSENKELL &
 & JONES LLP                                  BROWN LLC
 /s/ James E. O’Neill _________        _      /s/ Charles J. Brown, III
 Richard M. Pachulski                         Charles J. Brown, III
 (pro hac vice forthcoming)                   1201 N. Orange Street, 3rd Floor
 Alan J. Kornfeld                             Wilmington, DE 19801
                                              Telephone: 302-425-5813
 (pro hac vice forthcoming)                   Email: cbrown@gsbblaw.com
 Debra I. Grassgreen                          - and –
 (pro hac vice forthcoming)
 Iain A.W. Nasatir                            DUMAS & VAUGHN, LLC
 (pro hac vice forthcoming)                   Gilion C. Dumas, Esq. (admitted pro hac
 James E. O’Neill (DE Bar No. 4042)           vice)
 919 North Market Street, 17th Floor          Ashley L. Vaughn (admitted pro hac vice)
                                              3835 NE Hancock St., Ste. GL-B
 P.O. Box 8705                                Portland, OR 97212
 Wilmington, DE 19899-8705 (Courier 19801)    Phone: (503) 616-5007
 Tele/Fax: (302) 652-4100 / (302) 652-4400    Fax: (503) 616-5007
 Email: rpachulski@pszjlaw.com                Email: gilion@dumasandvaughn.com
 akornfeld@pszjlaw.com                                ashley@dumasandvaughn.com
 dgrassgreen@pszjlaw.com
 inasatir@pszjlaw.com                         For the Zalkin Law Firm, P.C. and Pfau
 joneill@pszjlaw.com                          Cochran Vertetis Amala PLLC:
 Counsel for the Tort Claimants’ Committee    BIELLI & KLAUDER, LLC
 For the Coalition of Abused Scouts
 for Justice:                                 /s/ _David M. Klauder___________        _
                                              David M. Klauder, Esquire (DE Bar No. 5769)
 MONZACK MERSKY & BROWDER, P.A.               1204 N. King Street
                                              Wilmington, DE 19801
 /s/ Rachel B. Mersky_ _______       _        Phone: (302) 803-4600
 Rachel B. Mersky (DE Bar No. 2049)           Fax: (302) 397-2557
 1201 North Orange Street, Suite 400          Email: dklauder@bk-legal.com
 Wilmington, DE 19801
 Telephone: (302) 656-8162                    -and-
 Facsimile: (302) 656-2769
 Email: RMersky@Monlaw.com                    KTBS LAW LLP
                                              Thomas E. Patterson
 -and-                                        (pro hac vice forthcoming)
                                              Daniel J. Bussel
 BROWN RUDNICK LLP                            (pro hac vice forthcoming)
 David J. Molton, Esq.                        Robert J. Pfister
 (admitted pro hac vice)                      (pro hac vice forthcoming)
 Eric R. Goodman, Esq.                        Sasha M. Gurvitz
 (admitted pro hac vice)                      (pro hac vice forthcoming)
 Seven Times Square                           1801 Century Park East, Twenty-Sixth Floor



                                             20
Case 1:22-cv-01237-RGA Document 22 Filed 10/17/22 Page 28 of 31 PageID #: 1260




 New York, NY 10036                               Los Angeles, CA 90067
 Telephone: (212) 209-4800                        Telephone: (310) 407-4000
 Email: DMolton@BrownRudnick.com                  Email: tpatterson@ktbslaw.com
 Email: EGoodman@BrownRudnick.com                        dbussel@ktbslaw.com
                                                         rpfister@ktbslaw.com
 -and-                                                   sgurvitz@ktbslaw.com

 Sunni P. Beville, Esq.                           Counsel to each of The Zalkin Law Firm, P.C.
 (pro hac vice forthcoming)                       and Pfau Cochran Vertetis Amala PLLC
 Tristan G. Axelrod, Esq.
 (admitted pro hac vice)
 One Financial Center                             For the Future Claimants’ Representative:
 Boston, MA 02111
 Telephone: (617) 856-8200
 Email: SBeville@BrownRudnick.com                 YOUNG CONAWAY STARGATT &
 Email: TAxelrod@BrownRudnick.com                 TAYLOR, LLP

 Counsel to the Coalition of Abused Scouts for    /s/ _Robert S. Brady ___________            _
 Justice                                          Robert S. Brady (DE Bar No. 2847)
                                                  Edwin J. Harron (DE Bar No. 3396)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, DE 19801
                                                  Telephone: (302) 571-6600
                                                  Facsimile: (302) 571-1253
                                                  Email: rbrady@ycst.com
                                                  eharron@ycst.com
                                                  szieg@ycst.com
                                                  skohut@ycst.com

                                                  -and-

                                                  GILBERT LLP
                                                  Kami E. Quinn (pro hac vice forthcoming)
                                                  Emily P. Grim (pro hac vice forthcoming)
                                                  Kyle Y. Dechant (pro hac vice forthcoming)
                                                  700 Pennsylvania Ave, SE
                                                  Suite 400
                                                  Washington, DC 20003
                                                  Telephone: (202) 772-2200
                                                  Facsimile: (202) 772-3333
                                                  Email: quinnk@gilbertlegal.com
                                                  grime@gilbertlegal.com
                                                  dechantk@gilbertlegal.com

                                                  Counsel to the Future Claimants’
                                                  Representative


                                                 21
Case 1:22-cv-01237-RGA Document 22 Filed 10/17/22 Page 29 of 31 PageID #: 1261



 For the Settling Insurance Companies:           STAMOULIS & WEINBLATT LLC

 BAYARD, P.A.                                    /s/ Stamatios Stamoulis _________     _
                                                 Stamatios Stamoulis (DE Bar No. 4606)
 /s/ Erin R. Fay_____________         _          800 N. West Street, Third Floor
 Erin R. Fay (DE Bar No. 5268)                   Wilmington, DE 19081
 Gregory J. Flasser (DE Bar No. 6154)            Telephone: (302) 999-1540
 600 North King Street, Suite 400                Email: stamoulis@swdelaw.com
 Wilmington, DE 19801
 Telephone: (302) 655-5000                       -and-
 Facsimile: (302) 658-6395
 Email: efay@bayardlaw.com                       O’MELVENY & MYERS LLP
 gflasser@bayardlaw.com                          Tancred Schiavoni (pro hac vice forthcoming)
                                                 Daniel Shamah (pro hac vice forthcoming)
 -and-                                           Times Square Tower
                                                 7 Times Square
 RUGGERI PARKS WEINBERG LLP                      New York, NY 10036
 James P. Ruggeri (pro hac vice forthcoming)     Telephone: (212) 326-2000
 Joshua D. Weinberg (pro hac vice forthcoming)   Email: tschiavoni@omm.com
 1875 K Street, NW, Suite 600                           dshamah@omm.com
 Washington, D.C. 20003
 Tel: (202) 469-7750                             -and-
 Email: jrugerri@rugerrilaw.com
 jweinberg@ruggerilaw.com                        O’MELVENY & MYERS LLP
                                                 Steve Warren (pro hac vice forthcoming)
 -and-                                           400 South Hope Street
                                                 Los Angeles, CA 90071
 WILMER CUTLER PICKERING HALE AND                Telephone: (213) 430-6000
 DORR LLP                                        Email: swarren@omm.com
 Philip D. Anker (admitted pro hac vice)
 7 World Trade Center                            -and-
 250 Greenwich Street
 New York, NY 10007                              SIMPSON THACHER & BARTLETT LLP
 Telephone: (212) 230-8890                       Mary Beth Forshaw (pro hac vice forthcoming)
 Email: philip.anker@wilmerhale.com              David Elbaum (pro hac vice forthcoming)
                                                 425 Lexington Avenue
 -and-                                           New York, NY 10017
                                                 Telephone: (212) 455-2000
 WILMER CUTLER PICKERING HALE AND                Email: mforshaw@stblaw.com
 DORR LLP                                              david.elbaum@stblaw.com
 Danielle Spinelli (pro hac vice forthcoming)
 Joel Millar (pro hac vice forthcoming)          Attorneys for Century and Chubb Companies
 1875 Pennsylvania Avenue N.W.
 Washington, D.C. 20006
 Tel: (202) 663-6000
 Email: danielle.spinelli@wilmerhale.com
 joel.millar@wilmerhale.com

 Attorneys for Hartford Accident and Indemnity
 Company, First State Insurance Company, Twin
 City Fire Insurance Company, and Navigators
 Specialty Insurance Company
Case 1:22-cv-01237-RGA Document 22 Filed 10/17/22 Page 30 of 31 PageID #: 1262



 TYBOUT, REDFEARN & PELL                          BALLARD SPAHR LLP

 /s/ Robert D. Cecil, Jr. _                       /s/ Matthew G. Summers _______      _
 Robert D. Cecil, Jr. (DE Bar No. 5317)           Matthew G. Summers (DE Bar No. 5533)
 501 Carr Road, Suite 300                         Chantelle D. McClamb (DE No. 5978)
 Wilmington, DE 19809                             919 N. Market Street, 11th Floor
 Telephone: (302) 658-6901                        Wilmington, DE 19801-3034
 Email: rcecil@trplaw.com                         Telephone: (302) 252-4428
                                                  Email: summersm@ballardspahr.com
 -and-                                            mcclambc@ballardspahr.com

 CROWELL & MORING LLP                             -and-
 Mark D. Plevin (pro hac vice forthcoming)
 Three Embarcadero Center, 26th Floor             STEPTOE & JOHNSON LLP
 San Francisco, CA 94111                          Harry Lee (pro hac vice forthcoming)
 Telephone: (415) 986-2800                        John O’Connor (pro hac vice forthcoming)
 Email: mplevin@crowell.com                       1330 Connecticut Avenue NW
                                                  Washington, DC 20036
 -and-                                            Telephone: (202) 429-8078
                                                  Email: hlee@steptoe.com
 CROWELL & MORING LLP                             joconnor@steptoe.com
 Tacie H. Yoon (pro hac vice forthcoming)
 Rachel A. Jankowski (pro hac vice forthcoming)   Attorneys for Clarendon
 1001 Pennsylvania Ave., N.W.
 Washington, D.C. 20004
 Phone: (202) 624-2500
 Email: tyoon@crowell.com
 rjankowski@crowell.com

 Attorneys for Zurich Insurers and Zurich
 Affiliated Insurers




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 For the Creditors’ Committee:                       For the Ad Hoc Committee:

 REED SMITH LLP                                      DLA PIPER, LLP (US)

 /s/ _Mark W. Eckard_____________           _        /s/ _R. Craig Martin____________          _
 Kurt F. Gwynne (DE Bar No. 3951)                    R. Craig Martin (DE Bar No. 5032)
 Mark W. Eckard (DE Bar No. 4542)                    1201 North Market Street, Suite 2100
 1201 Market Street, Suite 1500                      Wilmington, DE 19801-1147
 Wilmington, DE 19801                                Telephone: (302) 468-5655
 Telephone: (302) 778-7500                           Facsimile: (302) 778-7834
 Facsimile: (302) 778-7575                           Email: craig.martin@dlapiper.com
 Email: kgwynne@reedsmith.com
 meckard@reedsmith.com                               -and-

 -and-                                               WACHTELL, LIPTON, ROSEN & KATZ
                                                     Richard G. Mason (admitted pro hac vice)
 KRAMER LEVIN NAFTALIS & FRANKEL                     Douglas K. Mayer (pro hac vice forthcoming)
 LLP                                                 Joseph C. Celentino (admitted pro hac vice)
 Rachael Ringer (pro hac vice forthcoming)           Mitchell S. Levy (pro hac vice forthcoming)
 1177 Avenue of the Americas                         51 West 52nd Street
 New York, NY 10036                                  New York, NY 10019
 Telephone: (212) 715-9100                           Telephone: (212) 403-1000
 Email: rringer@kramerlevin.com                      Email: RGMason@wlrk.com
                                                            DKMayer@wlrk.com
 Attorneys for the Creditors’ Committee                     JCCelentino@wlrk.com
                                                            MSLevy@wlrk.com

                                                     Attorneys for Ad Hoc Committee of Local
                                                     Councils of the Boy Scouts of America

 For JPM:
                                                     For United Methodist Ad Hoc Committee:
 WOMBLE BOND DICKINSON (US) LLP
                                                     MACAULEY LLC
 /s/ Matthew P. Ward_ ___________           _
 Matthew P. Ward (DE Bar No. 4471)                   /s/ _Thomas G. Macauley________      _
 Morgan L. Patterson (DE Bar No. 5388)               Thomas G. Macauley (DE Bar No. 3411)
 1313 North Market Street, Suite 1200                300 Delaware Avenue, Suite 1018
 Wilmington, DE 19801                                Wilmington, DE 19801-1607
 Telephone: (302) 252-4320                           Telephone: (302) 656-0100
 Facsimile: (302) 252-4330                           Email: tm@macdelaw.com
 Email: matthew.ward@wbd-us.com
 morgan.patterson@wbd-us.com                         -and-

 -and-                                               BRADLEY ARANT BOULT CUMMINGS
                                                     LLP
 NORTON ROSE FULBRIGHT US LLP                        Edwin G. Rice (pro hac vice forthcoming)
 Kristian W. Gluck (pro hac vice forthcoming)        100 N. Tampa Street, Suite 2200
 2200 Ross Avenue, Suite 3600                        Tampa, FL 33602
 Dallas, TX 75201                                    Telephone: (813) 559-5500
 Telephone: (214) 855-8000                           Email: erice@bradley.com
 Email: Kristian.gluck@nortonrosefulbright.com
                                                     Attorneys for United Methodist ad hoc
 Attorneys for JPMorgan Chase Bank., N.A.            committee


                                                24
